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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                         Criminal No. 1:22-cr-207
            v.

  BRADLEY BOKOSKI, et al.,

            Defendants.



      DEFENDANT BRADLEY BOKOSKI’S UNOPPOSED MOTION TO MODIFY
                      CONDITIONS OF RELEASE

       Defendant Bradley Bokoski, by and through undersigned counsel, respectfully moves

the Court to modify the conditions of his pretrial release to remove the requirement to obtain

permission to travel outside of the District of Utah. The government does not oppose this

Motion and the relief requested. In support of his Motion, Mr. Bokoski submits the following:

       1.         Mr. Bokoski was arrested on May 25, 2022, in Utah in connection with an arrest

warrant from this Court. The warrant was issued related to a criminal Complaint charging Mr.

Bokoski with four counts: 1) Entering and Remaining in a Restricted Building or Grounds (18

U.S.C. § 1752(a)(1); 2) Disorderly and Disruptive Conduct in a Restricted Building or Ground

(18 U.S.C. § 1752(a)(2); 3) Disorderly Conduct on Capitol Ground (40 U.S.C. § 5104(e)(2)(D));

and 4) Parade, Demonstrate, or Picket in any of the Capitol Buildings (40 U.S.C. §

5104(e)(2)(G)). The government alleged that the offenses occurred on January 6, 2021 at the

United States Capitol.

       2.         Mr. Bokoski made his initial appearance in Utah on May 27, 2022 and he was

released with conditions. United States v. Bokoski, 2:22-mj-374 (D. Ut) (Dkt No. 11).




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       3.       On June 6, 2022, the government filed an Information charging Mr. Bokoski with

the same offenses set forth in the previously filed Complaint.

       4.       On June 7, 2022, Mr. Bokoski made his first appearance in this Court. The Court

allowed Mr. Bokoski to remain on pretrial release with conditions. Dkt. No. 16. The conditions

include that Mr. Bokoski “must obtain approval from PSA for the District of Utah in advance of/

for any and all travel outside of the District of Utah [and] Defendant must receive Court approval

before travel outside of the Continental United States.” Id at p. 3, ¶ 7(t).

       5.       Mr. Bokoski has no criminal record. It is undersigned counsel’s understanding

that in most of the cases arising from the events of January 6, 2021, the defendants have been

released on a standard condition that requires notice of travel outside of his or her home district,

but not approval of PSA. Travel outside of the continental United States and internationally

requires Court approval.

       6.       Mr. Bokoski has complied with all conditions of his conditions of release. The

government does not oppose the requested modification.

       Based on the foregoing, Mr. Bokoski respectfully requests that his conditions of release

be modified to only require advance notice of travel outside of the District of Utah, subject to the

existing restrictions on travel outside of the United States or international.

                                                       Respectfully Submitted,

                                                       /s/ Marc Eisenstein
                                                       Marc Eisenstein
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                                                       Counsel to Defendant Bradley Bokoski



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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 10, 2022 a copy of the foregoing was filed with

the Clerk of the Court and served on all counsel of record via ECF.



                                                        /s/
                                                 Marc Eisenstein




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